Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document      Page 1 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document      Page 2 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document      Page 3 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document      Page 4 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document      Page 5 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document      Page 6 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document      Page 7 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document      Page 8 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document      Page 9 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document     Page 10 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document     Page 11 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document     Page 12 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document     Page 13 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document     Page 14 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document     Page 15 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document     Page 16 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document     Page 17 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document     Page 18 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document     Page 19 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document     Page 20 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document     Page 21 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document     Page 22 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document     Page 23 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document     Page 24 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document     Page 25 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document     Page 26 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document     Page 27 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document     Page 28 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document     Page 29 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document     Page 30 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document     Page 31 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document     Page 32 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document     Page 33 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document     Page 34 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document     Page 35 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document     Page 36 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document     Page 37 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document     Page 38 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document     Page 39 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document     Page 40 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document     Page 41 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document     Page 42 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document     Page 43 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document     Page 44 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document     Page 45 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document     Page 46 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document     Page 47 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document     Page 48 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document     Page 49 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document     Page 50 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document     Page 51 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document     Page 52 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document     Page 53 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document     Page 54 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document     Page 55 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document     Page 56 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document     Page 57 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document     Page 58 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document     Page 59 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document     Page 60 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document     Page 61 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document     Page 62 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document     Page 63 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document     Page 64 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document     Page 65 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document     Page 66 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document     Page 67 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document     Page 68 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document     Page 69 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document     Page 70 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document     Page 71 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document     Page 72 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document     Page 73 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document     Page 74 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document     Page 75 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document     Page 76 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document     Page 77 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document     Page 78 of 79
Case 1:18-bk-10071   Doc 15    Filed 01/31/18 Entered 01/31/18 15:22:56   Desc Main
                              Document     Page 79 of 79
